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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA,                    :
                                             :
v.                                           :       Criminal Case No. 1:18-CR-457 (AJT)
                                             :
BIJAN RAFIEKIAN, et al.                      :


   DEFENDANT BIJAN RAFIEKIAN’S MOTION TO COMPEL DISCLOSURE OF
 CLASSIFIED MATERIAL AND EX PARTE STATEMENT AND FOR AN EXTENSION
  OF TIME TO FILE REPLY IN SUPPORT OF RAFIEKIAN’S MOTION FOR A NEW
                                TRIAL

       Defendant Bijan Rafiekian, through counsel, respectfully requests that the Court order the

government to disclose the classified information for which DX66 is a purported substitute, as

well as the government’s ex parte statement in support of its Opposition to Defendant’s Renewed

Motion for a New Trial. Mr. Rafiekian also requests a thirty (30) day extension to file his reply

in support of his Renewed Motion for New Trial. The grounds for this motion are set forth in the

accompanying memorandum of law.

Dated: August 20, 2021                               Respectfully submitted,

                                                     /s/
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                                                     Stacey H. Mitchell (Pro Hac Vice)
                                                     James E. Tysse (VA Bar #73490)
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the 20th day of August 2021, true and genuine copies of

Defendant Bijan Rafiekian’s Motion to Compel Disclosure of Classified Material and Ex Parte

Statement and for an Extension of Time to File Reply in Support of Rafiekian’s Renewed Motion

for a New Trial was sent via electronic mail by the Court’s CM/ECF system to the following:

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                                                            /s/
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